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 1   NICHOLAS W. BROWN
     Attorney General of Washington
 2   TERA M. HEINTZ, SBN #241414
     CRISTINA SEPE, SBN #308023
 3   CYNTHIA L. ALEXANDER, Pro Hac Vice
     Deputy Solicitors General
 4   Solicitor General’s Office
     1125 Washington Street SE, PO Box 40100
 5   Olympia, WA 98504-0100
     (360) 753-6200
 6   Tera.Heintz@atg.wa.gov
     Cristina.Sepe@atg.wa.gov
 7   Cynthia.Alexander@atg.wa.gov
     Attorneys for Plaintiff State of Washington
 8

 9                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
10                                 AT SAN FRANCISCO

11   AMERICAN FEDERATION OF                             NO. 3:25-cv-01780-WHA
     GOVERNMENT EMPLOYEES, AFL-CIO,
12   et al.,                                            DECLARATION OF
                                                        CYNTHIA L. ALEXANDER IN
13                            Plaintiffs,               SUPPORT OF PLAINTIFF STATE
                                                        OF WASHINGTON’S UNOPPOSED
14      v.                                              ADMINISTRATIVE MOTION FOR
                                                        3-HOUR EXTENSION AND
15   UNITED STATES OFFICE OF                            INCREASED PAGE LIMITS RE:
     PERSONNEL MANAGEMENT, et al.,                      PRELIMINARY INJUNCTION
16                                                      BRIEFING
                              Defendants.
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     DECLARATION OF CYNTHIA L.                                    ATTORNEY GENERAL OF WASHINGTON
                                                                        1125 Washington Street SE
     ALEXANDER – NO. 3:25-cv-01780-WHA                                       PO Box 40100
                                                                        Olympia, WA 98504-0100
                                                                             (360) 753-6200
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 1                             DECLARATION OF CYNTHIA L. ALEXANDER

 2          I, Cynthia L. Alexander, declare as follows:

 3          1.      I am over the age of 18, competent to testify as to the matters herein, and make

 4   this declaration based on my personal knowledge.

 5          2.      I am a Deputy Solicitor General with the Washington State Office of the Attorney

 6   General and one of the attorneys representing Plaintiff State of Washington in the

 7   above-captioned matter.

 8          3.      On March 31, 2025, Defendants’ counsel James Todd emailed counsel for

 9   Plaintiffs requesting Plaintiffs’ position on Defendants’ requests for (1) a three-hour extension

10   of Defendants’ deadline to file oppositions to Plaintiff State of Washington’s Motion for

11   Preliminary Injunction and Plaintiffs’ Motion for Compliance with the Preliminary Injunction;

12   and (2) a six-page increase in the page limit for Defendants’ opposition to Washington’s

13   Preliminary Injunction Motion. I responded on behalf of the State of Washington, indicating that

14   Washington did not object to the requested three-hour extension and did not object to the request

15   to increase the page limit, so long as Defendants would agree that any reply brief by the State of

16   Washington could be up to 21 pages. Defendants’ counsel Kelsey Helland agreed to this request.

17   Dkt. No. 165-1.

18          4.      On April 2, 2025, when I determined that the State of Washington would need an

19   additional three hours within which to file its reply on April 3, 2025, I emailed counsel for

20   Defendants requesting Defendants’ position on the three-hour extension. Defendants’ counsel

21   Yuri Fuchs responded on the same day that Defendants consent to Washington’s request for a

22   three-hour extension for the reply brief.

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     DECLARATION OF CYNTHIA L.                         1              ATTORNEY GENERAL OF WASHINGTON
                                                                            1125 Washington Street SE
     ALEXANDER – NO. 3:25-cv-01780-WHA                                           PO Box 40100
                                                                            Olympia, WA 98504-0100
                                                                                 (360) 753-6200
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 1          I declare under penalty of perjury under the laws of the State of California and the

 2   United States of America that the foregoing is true and correct.

 3          DATED and SIGNED this 2nd day of April 2025, at Olympia, Washington.

 4                                                /s/ Cynthia L. Alexander
                                                  CYNTHIA L. ALEXANDER
 5                                                Deputy Solicitor General

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     DECLARATION OF CYNTHIA L.                         2                ATTORNEY GENERAL OF WASHINGTON
                                                                              1125 Washington Street SE
     ALEXANDER – NO. 3:25-cv-01780-WHA                                             PO Box 40100
                                                                              Olympia, WA 98504-0100
                                                                                   (360) 753-6200
